     Case:19-30236-SDB Doc#:30 Filed:06/23/22 Entered:06/23/22 10:21:39                                                  Page:1 of 1


                              UNITED STATES BANKRUPTCY COURT
                                                  Southern District of Georgia

In re:                                                                                        Case No.: 19−30236−SDB
Roland McClendon and Bernice Braddy
McClendon,                                                                                    Judge: Susan D. Barrett
       Debtors.
                                                                                              Chapter: 13




                                             NOTICE OF TELEPHONIC HEARINGS


       Notice is hereby given that all hearings scheduled for July 12, 2022, at 10:00 AM for the Dublin Division of the U.S. Bankruptcy
Court will be held TELEPHONICALLY.

       To participate in the hearing, use the information below and dial in at least 10 minutes prior to the scheduled hearing time:

                                                           Call: 1−888−363−4749
                                                           Access Code: 7030574
                                                           Security Code: 4172020


       While participating in the hearing, please comply with the following:
       1. Identify yourself at the beginning of the call and each time you speak for the record.
       2. Place all phones on mute when your case is not being heard.
       3. Do not use the "speaker" function. Do not place the call on hold.
       4. Users are prohibited from recording or broadcasting the proceedings conducted by the U.S. Bankruptcy
          Court for the Southern District of Georgia.

        If you are unable to utilize this telephonic service, please contact the Clerk's Office via telephone at 706−823−6000 prior to your
hearing to make other arrangements. If you experience technical difficulty at the time of your hearing and are unable to participate in your
hearing, you must promptly report such difficulty to the Clerk's Office. Otherwise, you will be deemed to have been afforded the opportunity
to participate in the hearing.

        Attorneys: Please advise your clients not to appear at the courthouse(s). You should notify your client (debtor) prior to the telephonic
hearing if their participation is required. Parties can assist the Court in facilitating telephonic hearings by contacting opposing counsel and
interested parties well in advance of hearings to resolve any issues that can be resolved.

                                                                                          Lucinda Rauback, Clerk
                                                                                          United States Bankruptcy Court
                                                                                          Federal Justice Center
                                                                                          600 James Brown Blvd
                                                                                          P.O. Box 1487
                                                                                          Augusta, GA 30903


Dated: June 23, 2022


GASB−105 [01/21] KMS
